      Case 6:19-cv-06814-EAW-MWP Document 15 Filed 10/29/20 Page 1 of 3




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


JOSEPH SNOWDEN,
                                                              AMENDED SCHEDULING ORDER
                               Plaintiff,
                                                              19-CV-6814EAW
               v.

THE TOWN OF WEBSTER, a municipal entity,
et al.,

                               Defendants.




               Pursuant to a letter having been received on October 29, 2020, by Elliot Dolby

Shields, Esq., counsel for plaintiff, requesting on behalf of all parties a 90-day extension of the

deadlines contained in this Court’s June 1, 2020 Order & Amended Scheduling Order (Docket

# 14), and good cause having been shown, it is

               ORDERED that:

               1.      The telephone status conference scheduled to be held with the

undersigned on November 10, 2020, at 11:40 a.m., is adjourned until February 9, 2021, at 11:20

a.m., to discuss the status of the case and the possibility of settlement. Counsel will be provided

dial-in instructions by email prior to the scheduled conference.

               2.      All factual discovery in this case, including depositions, shall be

completed on or before March 1, 2021. All motions to compel discovery shall be filed at least

thirty (30) days prior to the factual discovery cutoff.

               3.      Plaintiff shall identify any expert witnesses pursuant to Fed. R. Civ. P.

26(a)(2)(A) and provide reports pursuant to Rule 26(a)(2)(B) and/or disclosures pursuant to Rule
      Case 6:19-cv-06814-EAW-MWP Document 15 Filed 10/29/20 Page 2 of 3




26(a)(2)(C) by March 29, 2021. Defendants shall identify any expert witnesses and provide

reports pursuant to Fed. R. Civ. P. 26 by April 28, 2021. Parties shall complete all discovery

relating to experts, including depositions, by June 1, 2021.

               4.      Dispositive motions, if any, shall be filed no later than July 28, 2021.

Unless a consent to proceed before this Court has been filed, such motions shall be made

returnable before Judge Wolford.

               5.      A trial date status conference pursuant to Fed. R. Civ. P. Rule 16(e) and

Local Rule 16 will be held, if necessary, at a date and time to be determined by the trial judge

after determination of dispositive motions. If no dispositive motions are filed, counsel shall

immediately contact the trial judge so that a trial date status conference can be scheduled.

                       At least seven (7) days prior to the trial date status conference, the parties

shall file a joint case status report setting forth the information described below. If the parties

disagree as to the information to be provided, the report must set forth their different responses.

The joint status report shall contain:

                       (1)     Nature of the Case: Set forth a brief description of the action,

                               identifying the parties, all counsel of record, the relief requested,

                               any affirmative defenses and any relationship the case may have to

                               other pending actions.

                       (2)     Motion Practice: Are any motions, dispositive or non-dispositive,

                               pending? If so, briefly describe the motion. Explain if additional

                               motion practice is necessary before the matter is ready to be tried.




                                                  2
     Case 6:19-cv-06814-EAW-MWP Document 15 Filed 10/29/20 Page 3 of 3




                      (3)     Settlement: Describe the status of settlement negotiations. If the

                              parties believe a court supervised settlement/mediation conference

                              would be of assistance in resolving the case or narrowing disputed

                              issues, please state.

                      (4)     Trial: State whether the case is ready for trial. If not, explain why.

                              Set forth an estimate of how long the trial will take and whether the

                              case is jury or non-jury.

               No extension of the above cutoff dates will be granted except upon written

application, made prior to the cutoff date, showing good cause for the extension. Application for

extensions should be made to the Magistrate Judge. Joint or unopposed requests to extend the

deadlines set forth in this order need not be made by formal motion, but rather may be sought in a

letter to the court. Letter requests must detail good cause for the extension and propose new

deadlines.

IT IS SO ORDERED.


                                                                  s/Marian W. Payson
                                                               MARIAN W. PAYSON
                                                             United States Magistrate Judge

Dated: Rochester, New York
       October 29, 2020




                                                 3
